     Case 1:17-cr-00065-DAD-BAM Document 42 Filed 10/24/17 Page 1 of 3


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 6   ATTORNEY FOR Defendant,
     SAMUEL SANCHEZ
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                               ******

11   UNITED STATES OF AMERICA,                            Case No.: 1:17-CR-00065-DAD-BAM
12                  Plaintiff,                            STIPULATION AND ORDER TO
13          v.                                            CONTINUE ARRAIGNMENT AND
                                                          COMPETENCY HEARING
14
                                                          Date: October 30, 2017
15   SAMUEL SANCHEZ,                                      Time: 10:00 a.m.
                                                          Courtroom: 5
16                  Defendant.                            Hon. Dale A. Drozd
17   TO:    THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
            ATTORNEY:
18
19          Plaintiff, United States of America, by and through its counsel of record, and
20   Defendant, by and through his counsel of record, hereby stipulate as follows:
21          1.      By previous order, this matter was set for an Arraignment and Competency
22   Hearing on October 30, 2017, at 10:00 a.m.
23          2.      By this stipulation, Defendant now moves to continue the Arraignment and
24   Competency Hearing to December 4, 2017, at 10:00 a.m. and to exclude time between
25   October 30, 2017, and December 4, 2017, under 18 U.S.C. §§ 3161(h)(1)(A), (h)(7)(A).
26   Plaintiff does not oppose this request.
27          3.      The parties agree and stipulate, and request that the Court find the following:
28                  a.      Counsel for the Defendant needs additional time to review the report,



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                                   STIPULATION AND ORDER TO CONTINUE HEARING
                                          CASE NO.: 1:17-CR-00065-DAD
     Case 1:17-cr-00065-DAD-BAM Document 42 Filed 10/24/17 Page 2 of 3


 1          meet with the Defendant, consult with experts, and prepare for the arraignment and
 2          competency hearing.
 3                 b.      The government does not object to the continuance.
 4                 c.      Based on the above-stated findings, the ends of justice served by
 5          continuing the case as requested outweigh the interest of the public and the Defendant
 6          in a trial within the original date prescribed by the Speedy Trial Act.
 7                 d.      For the purpose of computing time under the Speedy Trial Act, 18
 8          U.S.C. § 3161, et seq., within which trial must commence, the time period of October
 9          30, 2017, to December 4, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C.
10          §§ 3161(h)(1)(A), (h)(7)(A) because it results from a continuance granted by the Court
11          at Defendant’s request on the basis of the Court's finding that the ends of justice
12          outweigh the best interest of the public and the Defendant in a speedy trial, and because
13          of delay resulting from a mental competency evaluation.
14          4.     Nothing in this stipulation and order shall preclude a finding that other
15   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
16   period within which a trial must commence.
17                                                           Respectfully submitted,
18   DATED:       October 24, 2017                     By: /s/Jeffrey A. Spivak
19                                                         JEFFREY A. SPIVAK
                                                           Assistant United States Attorney
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21
22   DATED:       October 24, 2017                     By: /s/Anthony P. Capozzi
                                                           ANTHONY P. CAPOZZI
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                                                           Attorney for Defendant SAMUEL
24                                                         SANCHEZ

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                                   STIPULATION AND ORDER TO CONTINUE HEARING
                                          CASE NO.: 1:17-CR-00065-DAD
     Case 1:17-cr-00065-DAD-BAM Document 42 Filed 10/24/17 Page 3 of 3


 1                                                ORDER
 2          For reasons set forth above, the continuance requested by the parties is granted for good
 3   cause and time is excluded under the Speedy Trial Act from October 30, 2017 to December 4,
 4   2017, based upon the Court’s finding that the delay results from a proceeding, specifically an
 5   examination, to determine the mental competency of the Defendant and because the Defendant
 6   requests a continuance and the Court finds that the ends of justice outweigh the public’s and
 7   Defendant’s interest in a speedy trial. 18 U.S.C. §§ 3161(h)(1)(A), (h)(7)(A).
 8          The Arraignment and Competency Hearing are continued to December 4, 2017, at
 9   10:00 a.m.
10
     IT IS SO ORDERED.
11
12      Dated:     October 24, 2017
                                                         UNITED STATES DISTRICT JUDGE
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                                   STIPULATION AND ORDER TO CONTINUE HEARING
                                          CASE NO.: 1:17-CR-00065-DAD
